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                                   NOTICE OF HEARING




                   UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT



United States of America

       v.                                          Case No. 2:25-cr-15-1

Teresa Youngblut



TAKE NOTICE that the above-entitled case has been scheduled at 01:00 p.m. on Tuesday, June
24, 2025 in Burlington, Vermont, before Honorable Christina Reiss, Chief District Judge, for a
Discovery Conference.


Location: Courtroom 510                                   JEFFREY S. EATON, Clerk
                                                          By: /s/ Lescha Wilder
                                                          Deputy Clerk
                                                          6/10/2025

TO:

Matthew J. Lasher, AUSA

Steven L. Barth, AFPD

Johanna Masse, Court Reporter
